Js 44 (Rev. 09/11)

The JS 44 civil coversheet and the infomation contained herein neither re lace nor su
by local rules of court. This form, approved by the Judicial Conference o the United
(SEE INSTRUC T[ONS ()N NEXT PAGE OF THIS FORM.)

the civil docket sheet.

CIVIL COVER SHEET

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tates inSeptember 1974, is required for the use oft e Clerk

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ured by law, except as ppvid_ed
urt for the purpose of 1n1t1at1ng

 

l. (a) PLAINTIFFS
Ah You, David

(b) County of Residence ofFirst Listed Plaintiff enghg[age a ashe

(EXCEPTIN U.S. PLAINTIFF CASES)

(€P`

Hug VV. F|elscher

310 K Street, Suite 200
Anchoraqe, AK 99501

(907) 264-6635

AUOmeyS (Firm Name, Addl'es.\', and Telephone Number}

DEFENDANTS

NOTE:

Attomeys (1/ Knawn)

 

County of Residence of First Listed Defendant

The Home Depot USA, lnc.

State of De|aware

(lN U.S. PLAINTIFF (.`ASES ()NLY)

1N LAND CONDEMNATlON CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

PeterC. Pa`rtnow, Lane Powe|| LLC
301 W. Northern Lights Blvd., Suite 301
Anchoraqe, AK 99503

(907l 264-3317

 

II. BASIS OF JURISDICTION

([’lace an "X" in One Box Only)

 

(For Diversity Ca.res On[y)

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in Orle Boxfor Plainl[_f)Q

and One Baxfor Defendam)

 

 

 

 

 

 

 

 

 

 

 

 

El 1 U.S. Govemment D 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. GovernmemNa/aPar/y) Citizen ofThis State ix 1 |J l lncorporated or Pn'ncipal Place El 4 |J 4
ofBusiness ln This State
g 2 U.S. Govemment g 4 Diversity Citizen of Anot.her State [j 2 g 2 lncorporated and Principal Place 0 5 g 5
Defendant (Indicale Cili:enship afParlies in lie/n III) of Business ln Another State
Civ`zen or Subject ofa Cl 3 CI 3 Foreign Nation Cl 6 Cl 6
Fore_ign Country
IV. NATURE OF SUIT (Place an "X" in One Box Only)
l " CON-TRACT" ' TORTS '*I‘,`ORFEI'I'UREIPENALT¥".' BANKRUPTCY '1' O'I`HER'STATUTES ~ " vl
D 110 Insurance PERSONAL INJURY PERSONAL lNJURY CI 625 Drug Related Seizure 13 422 Appeal 28 USC 158 13 375 False Claims Act
lj 120 Marine Cl 310 Airplane l:l 365 Personal Injury - ofProperty 21 USC 881 Cl 423 Withdrawal Cl 400 State Reapportionment
|:l 130 Miller Act g 315 Airplane Product Product Liability |J 690 Ot.her 28 USC 157 Cl 410 Antitrust
IJ 140 Ncgotiable lnst.rument Liability l:l 367 Health Care/ g 430 Banks and Ba.nking
Cl 150 Recovery of Overpayment Cl 320 Assault, Libel & Pha.rmaceutical l . PROPERTY RIGHTS » D 450 Commerce
& Enforcement of Judgment Slander Personal lnjury D 820 Copyn`ghts |J 460 Deportat.ion
Cl 151 Medicare Act ij 330 Federal Employers’ Product Liability Cl 830 Patent Cl 470 Racketeer Influcnced and
D 152 Recovery ofDefaulted Liability g 368 Asbestos Personal Cl 840 Trademark Corrupt Organizations
Stuclent Loans Cl 340 Marine lnjury Product 13 480 Consumer Credit
(Excl. Veterans) D 345 Man`ne Product Liability ' L~ABOR - SOCIAL E URITY D 490 Cable/Sat TV
Cl 153 Recovery of Overpayment Liability PERSONAL PROPERTY Cl 710 Fair Labor Standai'ds l:l 861 HIA (1395ft) C] 850 Securities/Commodities/
of Veteran’s Beneflts 0 350 Motcr Vehicle El 370 Other Fraud Act El 862 Black Lung (923) Exchange
C] 160 Stockholders’ Suits l:l 355 Motor Vehicle C] 371 Truth in Lending Cl 720 Labor/Mgmt. Relat.ions CI 863 DIWC/DIWW (405(g)) D 890 Other Statutory Act.ions
§ 190 Other Contract Product Liability Cl 380 Ot.her Personal l:l 740 Railway Labor Act Cl 864 SSID Title XVI l:l 891 Agricultural Acts
D 195 Contract Product Liability l:l 360 Other Personal Property Damage g 751 Family and Medical Cl 865 RSI (405(g)) C] 893 Environmental Matters
D 196 Franchise Injury Cl 385 Property Damage Leave Aet C| 895 Freedom of lnf`ormat.ion
C] 362 Persona.l lnjury - Product Liability Cl 790 Other Labor Litigat.ion Act
Med. Malpractice ` _ Cl 791 Empl. Ret. lnc. Cl 896 Arbitration
l ' ` jrREAL PRQYERTY'v '-" ' ' CIVIl§ RIGHTS" . `:f `PRISONER PETITI`ONS1 Security Act 7 ' 1 FEDERAL TAX SUITS Cl 899 Administran`ve Procedure
lj 210 Land Condemnation lj 440 Ot.her Civil Rights Cl 510 Motions to Vacate D 870 Taxes (U.S. Plaintit`f Act/Review or Appeal of
Cl 220 Foreclosure Cl 441 Voting Sentence or Defendant) Agency Decision
D 230 Rent Lease & Ejectment Cl 442 Employment Habeas Corpus: C] 871 lRS-Third Party C'I 950 Constitutionality of
l:l 240 Torts to Land D 443 Housing/ 530 General 26 USC 7609 State Statutes
D 245 Tort Product Liability Accommodations 535 Death Penalty IMNIIGRATION '

|J 290 A11 Ot.her Real Property

CJ 445 A.mer. w/Disabilities -
Employment

(J 446 Amer. w/Disabilitics -
Other

D 448 Education

 

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of

DDUUUU

 

Coanement

 

[j 462 Naturalization Application
l:] 463 Habeas Corpus -
Alien Detainee
(Prisoner Petition)
|J 465 Ot.her lmmigration
Actions

 

 

 

 

V. ORIGIN
131 Original
Proceeding

(Place an "X" in One Box ()n/y)

|2¢ 2 Removed from
State Court

13 3 Remanded from
Appellate Court

Cl4

Reinstated or El 5

Reopened

Transferred from
another district
(¢_'gecifv)

Litigation

El 6 Multidistrict

 

VI. CAUSE OF ACTION

 

Cite the U. S. Civil Statute under which you are t'11in
U. S. Civil Sfatute. 28 USC 1331,1332,1 67, 1441 and 1446

Brief description of cause:
Termination of Emp|oyment

(Do not citejurisdictional statutes unless diversity).

 

 

 

 

 

VII. REQUESTED IN 13 CHECK IF THIS rs A cLAss AcTroN DEMANI) s cHEcK YES only if demanded in complaint
COMPLAINT: UNDER F-R-C-P- 23 JURY I)EMAND: cl Yes m No
v111. RELATED CASE(S) q , _ _ _ _ _
IF ANY ("“ '""'""”""")' JUDGE DocKET NUMBER
DATE SIGNATURE OF ATI`ORNEY OF RECORD
08/20/2012 s/ Peter C. Partnow
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

Case 3:12-cV-00172-HRH Document 2 Filed 08/20/12 Page 1 of 1

